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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE €';':~ hiin 23 &M 8: 53
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:04cr20286-D

KATR]NA R. NEWSON
AfK/A KATRINA R. NEWSOM

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a probable cause/detention hearing
is set for TUESDAY, AUGUST 23, 2005 at 2:45 P.M. before United States Magistrate Judge Tu
M. Pham in Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the
United States Ma.rshal and produced for the hearing.

Date: August 22, 2005 § ‘K
v)L,/\/ C`/L"`

' TU M.T>HAM
UNITED sTATEs MAGISTRATE JUDGE

 

‘If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(£`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BIBS) Order of Ternporary Detention

This document entered on the docket great In compliance Oj>zj
with Ru|e 355 and/or 32{!;)) FHCrP on ’

   

UNITED sATE 'ST'IIC COUR - WESTER DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20286 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

